EXHIBIT C
       NYSCEF                                      Document List
       New York County Supreme Court              Index # 160694/2019              Created on:09/04/2020 07:49 PM

Case Caption:   E. Jean Carroll v. Donald J. Trump
Judge Name:     Verna L Saunders
Doc#     Document Type/Information                             Status        Date Received      Filed By
1        SUMMONS                                               Processed     11/04/2019         Kaplan, R.

2        COMPLAINT                                             Processed     11/04/2019         Kaplan, R.

3        AFFIRMATION                                             Processed   11/08/2019         Kaplan, R.
         Affirmation of Roberta A. Kaplan re Identification of
         Related Case
4        RJI -RE: OTHER EX PARTE APPLICATION                     Processed   11/08/2019         Kaplan, R.
         RJI re Identification of Related Case, Identification,
         without notice, of the related case Summer Ze
5        EXPARTE ORDER (PROPOSED)                                Processed   11/08/2019         Kaplan, R.
         Proposed Order Permitting Alternative Service
6        AFFIDAVIT OR AFFIRMATION IN SUPPORT OF                  Processed   11/08/2019         Kaplan, R.
         PROPOSED OSC/EXPARTE APP
         Affirmation of Roberta A. Kaplan in Support of Ex Parte
         Application for an Order Permitting Alternat
7        EXHIBIT(S)                                              Processed   11/08/2019         Kaplan, R.
         Summons and Complaint
8        EXHIBIT(S)                                              Processed   11/08/2019         Kaplan, R.
         Donald J. Trump New York Voter Registration
9        EXHIBIT(S)                                              Processed   11/08/2019         Kaplan, R.
         Affidavits re Nov. 4 Service Attempt at Trump Tower
10       EXHIBIT(S)                                              Processed   11/08/2019         Kaplan, R.
         Affidavits re Nov. 5 Service Attempt at Trump Tower
11       EXHIBIT(S)                                              Processed   11/08/2019         Kaplan, R.
         Affidavits re Nov. 6 Service Attempt at Trump Tower
         (Morning)
12       EXHIBIT(S)                                              Processed   11/08/2019         Kaplan, R.
         Affidavits re Nov. 6 Service Attempt at Trump Tower
         (Evening)
13       EXHIBIT(S)                                              Processed   11/08/2019         Kaplan, R.
         Affidavit re Nov. 6 at White House
14       EXHIBIT(S)                                              Processed   11/08/2019         Kaplan, R.
         Email from R. Kaplan to M. Kasowitz
15       ORDER - EXPARTE                                         Processed   11/13/2019         Court User
         Ex parte order for alternate service signed 11/12/19
16       NOTICE OF APPEARANCE (POST RJI)                         Processed   11/13/2019         Craig, M.
         Notice of Appearance for Matthew J. Craig
17       AFFIRMATION/AFFIDAVIT OF SERVICE                        Processed   11/13/2019         Craig, M.
         Affirmation of Service of Summons, Complaint, Notice of
         Mandatory E-Filing, and Order Permitting Alt
18       NOTICE OF APPEARANCE (POST RJI)                         Processed   11/13/2019         Fitzgerald, M.
         Notice of Appearance for Martha E. Fitzgerald
19       NOTICE OF APPEARANCE (POST RJI)                         Processed   11/25/2019         Rosen, L.

20       STIPULATION - BRIEFING SCHEDULE                       Processed     11/26/2019         Rosen, L.

21       NOTICE OF APPEARANCE (POST RJI)                       Processed     11/26/2019         Tenzer, G.
         Notice of Appearance for Gabrielle E. Tenzer
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22      LETTER/CORRESPONDENCE - SO ORDERED                            Processed   12/03/2019         Court User

23      LETTER / CORRESPONDENCE TO JUDGE                              Processed   12/03/2019         Kaplan, R.
        Letter to Hon. Deborah A. Kaplan
24      EXHIBIT(S)                                                    Processed   12/03/2019         Kaplan, R.
        Affirmation of Roberta A. Kaplan re Identification of
        Related Case
25      LETTER APPLICATION TO ADMINISTRATIVE JUDGE                    Processed   12/05/2019         Rosen, L.
        REQUESTING ASSIGNMENT (RELATED ACTION)
        In response to plaintiff's 12/3/19 letter to Justice Kaplan
26      LETTER / CORRESPONDENCE TO JUDGE                              Processed   12/05/2019         Kaplan, R.
        Letter to Hon. Deborah A. Kaplan re Defendant's
        12/5/2019 Letter
27      ORDER - PRELIMINARY CONFERENCE                                Processed   12/12/2019         Court User

28      ORDER TO SHOW CAUSE ( PROPOSED )                              Processed   01/03/2020         Rosen, L.

29      AFFIDAVIT OR AFFIRMATION IN SUPPORT                           Processed   01/03/2020         Rosen, L.

30      EXHIBIT(S)                                                    Processed   01/03/2020         Rosen, L.
        Plaintiff's Complaint
31      EXHIBIT(S)                                                    Processed   01/03/2020         Rosen, L.
        11-13-19 ex parte order
32      EXHIBIT(S)                                                    Processed   01/03/2020         Rosen, L.
        Preliminary Conference Order
33      MEMORANDUM OF LAW IN SUPPORT                                  Processed   01/03/2020         Rosen, L.

34      AFFIDAVIT OR AFFIRMATION IN OPPOSITION TO         Processed               01/06/2020         Kaplan, R.
        ORDER TO SHOW CAUSE
        Affirmation of Roberta A. Kaplan in Opposition to
        Defendant's Proposed Order to Stay Discovery
35      ORDER TO SHOW CAUSE - DECLINED/WITHDRAWN Processed                        01/08/2020         Court User

36      DECISION + ORDER ON MOTION                                    Processed   01/10/2020         Court User

37      NOTICE OF ENTRY                                   Processed               01/13/2020         Kaplan, R.
        Decision and Order Denying Defendant's Proposed
        Order to Show Cause
38      STIPULATION - OTHER - ( REQUEST TO SO ORDER ) Processed                   02/03/2020         Rosen, L.
        [Proposed] Order and Stipulated Briefing Schedule
39      STIPULATION - SO ORDERED                          Processed               02/04/2020         Court User

40      NOTICE OF APPEARANCE (POST RJI)                               Processed   02/04/2020         Kasowitz, M.
        Notice of Appearance of Marc E. Kasowitz
41      NOTICE OF APPEARANCE (POST RJI)                               Processed   02/04/2020         Montenegro, C.
        Notice of Appearance of Christine A. Montenegro
42      NOTICE OF APPEARANCE (POST RJI)                               Processed   02/04/2020         Burgo, P.
        Notice of Appearance of Paul J. Burgo
43      NOTICE OF MOTION                                              Processed   02/04/2020         Kasowitz, M.
        Notice of Motion to Stay Proceedings


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44      AFFIDAVIT OR AFFIRMATION IN SUPPORT OF                      Processed   02/04/2020         Kasowitz, M.
        MOTION
        Affirmation Of Marc E. Kasowitz
45      EXHIBIT(S)                                                  Processed   02/04/2020         Kasowitz, M.
        RJI Submissions
46      EXHIBIT(S)                                                  Processed   02/04/2020         Kasowitz, M.
        Preliminary Conference Order
47      EXHIBIT(S)                                                  Processed   02/04/2020         Kasowitz, M.
        Letter from the Court of Appeals
48      EXHIBIT(S)                                                  Processed   02/04/2020         Kasowitz, M.
        So-Ordered Stipulation
49      MEMORANDUM OF LAW IN SUPPORT                                Processed   02/04/2020         Kasowitz, M.
        Memorandum Of Law Of President Donald J. Trump In
        Support Of Motion For A Stay Of Proceedings
50      STIPULATION - BRIEFING SCHEDULE                             Processed   02/06/2020         Kaplan, R.
        Proposed Order and Stipulated Schedule for Motion to
        Stay Briefing
51      STIPULATION - SO ORDERED                                    Processed   02/10/2020         Court User

52      STIPULATION - ADJOURNMENT OF MOTION -IN                     Processed   02/11/2020         Mcpartland, P.
        SUBMISSIONS PART -RM 130
        Adjourn to February 28, 2020
53      NOTICE OF APPEARANCE (POST RJI)                             Processed   02/18/2020         Fisher, L.

54      MEMORANDUM OF LAW IN OPPOSITION                             Processed   02/18/2020         Kaplan, R.

55      AFFIDAVIT OR AFFIRMATION IN OPPOSITION TO                   Processed   02/18/2020         Kaplan, R.
        MOTION

56      EXHIBIT(S)                                                  Processed   02/18/2020         Kaplan, R.
        Plaintiffs First Notice to Submit to Physical Examination
57      EXHIBIT(S)                                                  Processed   02/18/2020         Kaplan, R.
        Discovery Stipulation filed in Zervos v. Trump
58      EXHIBIT(S)                                                  Processed   02/18/2020         Kaplan, R.
        Ltr. from Beth A. Wilkinson, Esq., to John P. Asiello,
        Esq., Clerk of Court, New York State Court of
59      EXHIBIT(S)                                                  Processed   02/18/2020         Kaplan, R.
        Notice of Motion filed in Zervos v. Trump (1st Dep't)
60      EXHIBIT(S)                                                  Processed   02/18/2020         Kaplan, R.
        Order Granting Defendant's Motion for Leave to Appeal
        in Zervos v. Trump (1st Dep't)
61      EXHIBIT(S)                                                  Processed   02/18/2020         Kaplan, R.
        Ltr. from John P. Asiello, Esq., Clerk of Court, New York
        State Court of Appeals, to Beth A. Wilkins
62      EXHIBIT(S)                                                  Processed   02/18/2020         Kaplan, R.
        Ltr. from Marc E. Kasowitz, Esq., to John P. Asiello,
        Esq., Clerk of Court, New York State Court of
63      EXHIBIT(S)                                                  Processed   02/18/2020         Kaplan, R.
        Ltr. from Joan Levenson, Esq., Principal Law Clerk to
        Administrative Judge Deborah A. Kaplan, to Rob
64      EXHIBIT(S)                                                  Processed   02/18/2020         Kaplan, R.
        Email from Erin Hobday to E. Jean Carroll

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65      EXHIBIT(S)                                                  Processed   02/18/2020         Kaplan, R.
        Memorandum of Law in Support of Defendant's Motion
        to Dismiss and Strike the Complaint
66      AFFIDAVIT OR AFFIRMATION IN REPLY                           Processed   02/28/2020         Kasowitz, M.
        Reply Affirmation Of Marc E. Kasowitz
67      EXHIBIT(S)                                                  Processed   02/28/2020         Kasowitz, M.
        What Happened Between E. Jean Carroll and Elle
        Magazine
68      EXHIBIT(S)                                                  Processed   02/28/2020         Kasowitz, M.
        Def. Answer
69      EXHIBIT(S)                                                  Processed   02/28/2020         Kasowitz, M.
        Decision Granting Leave to Appeal
70      MEMORANDUM OF LAW IN REPLY                                  Processed   02/28/2020         Kasowitz, M.
        Defendants Reply Memorandum Of Law In Further
        Support Of Motion For A Stay
71      LETTER / CORRESPONDENCE TO JUDGE                            Processed   03/02/2020         Kaplan, R.
        Letter from Roberta A. Kaplan to Hon. Verna L.
        Saunders
72      EXHIBIT(S)                                                  Processed   03/02/2020         Kaplan, R.
        Complaint in Donald J. Trump for President, Inc. v. The
        New York Times Company
73      LETTER / CORRESPONDENCE TO JUDGE                            Processed   03/06/2020         Kaplan, R.
        Letter from Roberta A. Kaplan to Hon. Verna L.
        Saunders
74      EXHIBIT(S)                                                  Processed   03/06/2020         Kaplan, R.
        Complaint in Donald J. Trump for President, Inc. v. WP
        Company LLC
75      EXHIBIT(S)                                                  Processed   03/06/2020         Kaplan, R.
        Complaint in Donald J. Trump for President, Inc. v. CNN
        Broadcasting, Inc.
76      LETTER / CORRESPONDENCE TO JUDGE                            Processed   03/10/2020         Burgo, P.
        In Response to Plaintiff's letters to the Court, dated
        March 2 and March 6, 2020
77      LETTER / CORRESPONDENCE TO JUDGE                            Processed   03/11/2020         Kaplan, R.
        In Response to Defendant's Letter to the Court Dated
        March 10, 2020
78      LETTER / CORRESPONDENCE TO JUDGE                            Processed   03/11/2020         Burgo, P.
        Letter addressed to Justice Verna L. Saunders From
        Paul J. Burgo dated March 11, 2020 in response t
79      URGENT - COURT APPEARANCE UPDATE                            Processed   03/20/2020         Court User

80      NOTICE                                                      Processed   04/14/2020         Court User

81      NOTICE OF APPEARANCE (POST RJI)                             Processed   06/15/2020         Matz, J.
        Notice of Appearance for Joshua A. Matz
82      NOTICE OF MOTION                                            Processed   06/15/2020         Kaplan, R.
        Notice of Motion to Strike an Affirmative Defense
83      AFFIRMATION                                                 Processed   06/15/2020         Kaplan, R.
        Affirmation of Roberta A. Kaplan in Support of Plaintiffs
        Motion to Strike an Affirmative Defense
84      EXHIBIT(S)                                                  Processed   06/15/2020         Kaplan, R.
        Logo for The Apprentice


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85      EXHIBIT(S)                                               Processed      06/15/2020         Kaplan, R.
        Entity information page for The Trump Corporation
86      EXHIBIT(S)                                               Processed      06/15/2020         Kaplan, R.
        Entity information page for The Trump Organization, Inc.
87      EXHIBIT(S)                                               Processed      06/15/2020         Kaplan, R.
        Federal Election Commission filing by Donald J. Trump
        for President, Inc.
88      EXHIBIT(S)                                               Processed      06/15/2020         Kaplan, R.
        Reports titled Expenditures Pursuant to the Presidential
        Protection Assistance Act of 1976
89      EXHIBIT(S)                                               Processed      06/15/2020         Kaplan, R.
        Certified transcript of June 1, 2020 telephone call
        involving Defendant Donald J. Trump
90      EXHIBIT(S)                                               Processed      06/15/2020         Kaplan, R.
        Florida Voter Registration Applications signed by Donald
        J. Trump
91      EXHIBIT(S)                                               Processed      06/15/2020         Kaplan, R.
        Declaration of Use Agreement between the Town of
        Palm Beach, the Mar-a-Lago Club, Inc., and Donald J
92      MEMORANDUM OF LAW                                        Processed      06/15/2020         Kaplan, R.
        Memorandum of Law in Support of Plaintiffs Motion to
        Strike an Affirmative Defense
93      LETTER / CORRESPONDENCE TO JUDGE                         Processed      06/29/2020         Mcpartland, P.
        Notice of Voluntary Withdrawal of Affirmative Defense
94      LETTER / CORRESPONDENCE TO JUDGE                         Processed      06/29/2020         Kaplan, R.
        In Response to Defendant's Notice of Voluntary
        Withdrawal of Affirmative Defense
95      EXHIBIT(S)                                               Processed      06/29/2020         Kaplan, R.
        Correspondence Between Counsel Regarding
        Stipulation
96      DECISION + ORDER ON MOTION                               Processed      07/01/2020         Court User

97      LETTER / CORRESPONDENCE TO JUDGE                            Processed   07/10/2020         Kaplan, R.
        Letter from Roberta A. Kaplan Regarding the Supreme
        Courts Rejection of Presidential Immunity in Tru
98      EXHIBIT(S)                                                  Processed   07/10/2020         Kaplan, R.
        Trump v. Vance Opinion
99      LETTER / CORRESPONDENCE TO JUDGE                            Processed   07/14/2020         Kasowitz, M.
        Letter in Response to Plaintiffs Letter to the Court, dated
        July 10, 2020
100     EXHIBIT(S)                                                  Processed   07/14/2020         Kasowitz, M.
        Exhibit 1 Brief for Defendant-Appellant in Zervos v.
        Trump
101     LETTER / CORRESPONDENCE TO JUDGE                            Processed   07/15/2020         Kaplan, R.
        Letter in Response to Defendant's Letter to the Court,
        dated July 14, 2020
102     EXHIBIT(S)                                                  Processed   07/15/2020         Kaplan, R.
        Trump v. Mazars Opinion
103     LETTER / CORRESPONDENCE TO JUDGE                            Processed   07/16/2020         Kasowitz, M.
        Letter in Response to Plaintiffs Letter to the Court, dated
        July 15, 2020
104     EXHIBIT(S)                                                  Processed   07/16/2020         Kasowitz, M.
        Reply Brief for Defendant-Appellant in Zervos v. Trump

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105     LETTER / CORRESPONDENCE TO JUDGE                      Processed     07/17/2020         Kaplan, R.
        Letter from Roberta A. Kaplan Regarding Submission
        Made By Summer Zervos to the Court of Appeals in
106     EXHIBIT(S)                                            Processed     07/17/2020         Kaplan, R.
        Submission to the Court of Appeals in Zervos v. Trump
107     SUBSTITUTION OF ATTORNEY (POST RJI)                   Processed     07/24/2020         Mcpartland, P.

108     LETTER / CORRESPONDENCE TO JUDGE                        Processed   07/28/2020         Kasowitz, M.
        Letter from Marc E. Kasowitz to Judge Verna L.
        Saunders dated July 28, 2020 re: President's response
109     EXHIBIT(S)                                              Processed   07/28/2020         Kasowitz, M.
        President's response to the July 16, 2020 letter to the
        Court of Appeals
110     DECISION + ORDER ON MOTION                              Processed   08/06/2020         Court User

111     NOTICE OF ENTRY                                       Processed     08/08/2020         Kaplan, R.
        Notice of Entry of Decision and Order Denying
        Defendant's Motion to Stay




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